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11
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12       FriendFinder Networks Inc. and Streamray
         Inc.
13

14
                                 UNITED STATES DISTRICT COURT
15
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                     SAN FRANCISCO DIVISION
17

18   WAG ACQUISITION, L.L.C.,                            Case No. 19-cv-05036-JD

19                                  Plaintiff,           Honorable James Donato
                                                         Courtroom 11
20                             v.
                                                         CORRECTED1 FURTHER UPDATE
21   FRIENDFINDER NETWORKS INC., et al.,                 ON REEXAMS

22                                  Defendants.

23

24

25

26

27
     1
       FriendFinder hereby corrects Dkt. No. 231 to update the below table entry No. 1 to reflect that
28   the defendants there have moved to stay claim construction and Markman proceedings only; and
     FriendFinder updated table entries Nos. 2-3 to reflect the correct year, 2021.

                 CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
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 1          Defendants/Counter-Claimants FriendFinder Networks Inc. and Streamray Inc.

 2   (collectively, “FriendFinder”) hereby advise the Court in furtherance of Dkt. Nos. 226-231 that

 3   FriendFinder filed on December 10, 2021 a petition with the United States Patent and Trademark

 4   Office (“USPTO”) under 37 CFR §§ 1.515(c) and 1.181, seeking to reverse its denial of ex parte

 5   reexamination no. 90/014,835 pertaining to U.S. Patent No. 8,185,611. The USPTO’s prior orders

 6   granting FriendFinder’s three ex parte reexaminations and prior denial, including the above

 7   petition, are attached in Exhibits A-D (and referenced below).

 8          FriendFinder also provides the summary table below of the current and resolved or

 9   terminated litigations, ex parte reexaminations, and inter partes reviews for the asserted patents in

10   this action (i.e., U.S. Patent Nos. 8,122,141; 8,327,011; 8,185,611; and 8,364,839) and related

11   patents (e.g., U.S. Patent Nos. 9,742,824; 9,729,594; and 9,762,636).

12            CURRENT LITIGATIONS AND EX PARTE REEXAMINATIONS
13    No.                Case Caption                   Court      Patent(s)     Status
      1   WAG Acquisition, L.L.C. v. Flying          WDWA         8,122,141 On December
14        Crocodile, Inc. et al., No. 2:19-cv-01278-              8,327,011 10, 2021, the
          BJR                                        (transferred 8,185,611 Court granted
15                                                   from DNJ) 8,364,839 the Parties’
                                                                             request to
16
                                                                             extend
17                                                                           damages
                                                                             discovery until
18                                                                           January 28,
                                                                             2022. Dkt.
19                                                                           Nos. 282-283.
20
                                                                                        Defendants
21                                                                                      Accretive
                                                                                        Technology
22                                                                                      Group, Inc.,
                                                                                        ICF
23                                                                                      Technology
                                                                                        Group Inc. and
24
                                                                                        Riser Apps
25                                                                                      LLC have
                                                                                        moved to stay
26                                                                                      the claim
                                                                                        construction
27                                                                                      and Markman
28                                                                                      proceedings
                                                                                        based on the ex
                                                      2
              CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
     Case 3:19-cv-05036-JD Document 232 Filed 12/16/21 Page 3 of 153



                                                                         parte
 1
                                                                         reexaminations
 2                                                                       which WAG
                                                                         has opposed.
 3                                                                       Dkt. Nos. 274-
                                                                         278, 281, 284.
 4                                                                       Those
                                                                         defendants are
 5
                                                                         not seeking a
 6                                                                       stay of factual
                                                                         discovery as to
 7                                                                       damages.
 8                                                                       Markman
                                                                         briefing is
 9                                                                       under
                                                                         submission as
10
                                                                         of April 14,
11                                                                       2021. Dkt.
                                                                         Nos. 262-270.
12   2   WAG Acquisition, L.L.C. v. Amazon.com,     WDTX     9,742,824   Complaint
         Inc. et al, 6:21-cv-00815-ADA                       9,729,594   filed on
13                                                           9,762,636   August 6,
                                                                         2021. Dkt.
14
                                                                         No. 1.
15
                                                                         On November
16                                                                       1, 2021,
                                                                         Amazon
17                                                                       answered.
18                                                                       Dkt. No. 22.

19                                                                       On December
                                                                         6, 2021, the
20                                                                       Parties filed a
                                                                         motion for
21                                                                       entry of a
                                                                         proposed
22
                                                                         Scheduling
23                                                                       Order. Dkt.
                                                                         Nos. 27-28.
24   3   WAG Acquisition, L.L.C. v. Google LLC et   WDTX     9,742,824   Complaint
         al, 6:21-cv-00816-ADA                               9,729,594   filed on
25                                                           9,762,636   August 6,
26                                                                       2021. Dkt.
                                                                         No. 1.
27                                                                       On November
                                                                         1, 2021,
28                                                                       Google filed a
                                                                         motion to
                                               3
           CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
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                                                                                       dismiss, which
 1
                                                                                       WAG opposed
 2                                                                                     on November
                                                                                       15, 2021. Dkt.
 3                                                                                     Nos. 17, 30-
                                                                                       32.
 4
                                                                                       On December
 5                                                                                     6, 2021, the
 6                                                                                     Parties filed a
                                                                                       motion for
 7                                                                                     entry of a
                                                                                       proposed
 8                                                                                     Scheduling
                                                                                       Order. Dkt.
 9                                                                                     No. 33-34.
10       4   WAG Acquisition, L.L.C. v. Netflix, Inc.,       WDTX         9,742,824    Complaint and
             6:21-cv-01083-ADA                                            9,729,594    Amended
11                                                                                     Complaint
                                                                                       filed on
12                                                                                     October 18,
                                                                                       2021. Dkt.
13
                                                                                       Nos. 1, 8.
14
                                                                                       Netflix’s
15                                                                                     answer or
                                                                                       response is due
16                                                                                     January 7,
                                                                                       2022. Dkt.
17
                                                                                       No. 24.2
18       5   WAG Acquisition, L.L.C. v. The Walt             CDCA         9,742,824    Complaint
             Disney Company et al, 2:21-cv-08230-                         9,729,594    filed October
19           JAK-E                                                        9,762,6363   18, 2021. Dkt.
                                                                                       No. 1.
20

21                                                                                     Waivers of
                                                                                       Service of
22                                                                                     Summons
                                                                                       executed;
23                                                                                     answer or
                                                                                       response due
24                                                                                     January 28,
25
     2
      Venable represents Netflix in this litigation; it previously represented Multi Media, WMM, and
26   WebPower.
     3
27     The Prayer for Relief, however, refers to purported infringement of two patents (i.e., U.S. Patent
     No. 9,742,824 and 9,729,594) but purported damages on a different two patent group (i.e., U.S.
28   Patent No. 9,742,824 and 9,762,636). See Dkt. No. 1, at 14.

                                                         4
               CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
         Case 3:19-cv-05036-JD Document 232 Filed 12/16/21 Page 5 of 153



                                                                                2022. Dkt.
 1
                                                                                Nos. 44-46.
 2       6    WAG Acquisition, LLC v. Hulu LLC, 2:21-   CDCA       9,742,824    Complaint
              cv-08242-MCS-AFM                                     9,729,5944   filed October
 3                                                                              18, 2021. Dkt.
                                                                                No. 1.
 4
                                                                                Waiver of
 5
                                                                                Service of
 6                                                                              Summons
                                                                                executed;
 7                                                                              answer or
                                                                                response due
 8                                                                              January 28,
 9                                                                              2022. Dkt.
                                                                                Nos. 36-37.
10       7    Ex Parte Reexamination, Control Number:   USPTO      8,327,011    Reexamination
              90/014,833.                                                       Ordered on
11                                                                              November 16,
                                                                                2021. See
12                                                                              Exhibit A.
13       8    Ex Parte Reexamination, Control Number:   USPTO      8,122,141    Reexamination
              90/014,834.                                                       Ordered on
14                                                                              September 21,
                                                                                2021. See
15                                                                              Exhibit B.
         9    Ex Parte Reexamination, Control Number:   USPTO      8,185,611    Reexamination
16
              90/014,835.                                                       denied on
17                                                                              November 12,
                                                                                2021. See
18                                                                              Exhibit C,
                                                                                including the
19                                                                              petition for
                                                                                reversal.
20

21                                                                              FriendFinder
                                                                                filed a petition
22                                                                              for reversal of
                                                                                this denial.
23       10   Ex Parte Reexamination, Control Number:   USPTO      8,364,839    Reexamination
24            90/014,836.                                                       Ordered on
                                                                                September 30,
25                                                                              2021. See
                                                                                Exhibit D.
26                      RESOLVED OR TERMINATED LITIGATIONS AND
27
     4
       The Prayer for Relief, however, references three patents (i.e., 9,742,824, 9,729,594, and
28   9,762,636). See Dkt. No. 1, at 11.

                                                   5
                CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
     Case 3:19-cv-05036-JD Document 232 Filed 12/16/21 Page 6 of 153



                                       INTER PARTES REVIEWS
 1
     11   WAG Acquisition, L.L.C. v. Gattyàn Group DNJ              8,122,141    Dismissed
 2        S.à r.l. et al., No. 2:14-cv-2832-ES-MAH                  8,327,011    with prejudice
                                                                    8,185,611    So Ordered on
 3                                                                  8,364,839    September 15,
                                                                                 2021. Dkt. No.
 4                                                                               310.
 5
                                                                                 The Parties
 6                                                                               had completed
                                                                                 claim
 7                                                                               construction or
                                                                                 Markman
 8                                                                               briefing as of
 9                                                                               March 4, 2021.
                                                                                 Dkt. Nos. 272-
10                                                                               274, 281-282.
     12   WAG Acquisition, L.L.C. v. Vubeology, Inc.    WDTX         8,122,141   Dismissed
11        et al., No. 1:19-cv-00805-LY                  (transferred 8,327,011   without
                                                        from DNJ)                prejudice So
12                                                                               Ordered on
13                                                                               April 19, 2021.
                                                                                 Dkt. No. 174.
14   13   WAG Acquisition, L.L.C. v. Data               DNV          8,122,141   Dismissed
          Conversions, Inc. et al., No. 3:19-cv-        (transferred 8,327,011   with prejudice
15        00489-MMD-CLB                                 from DNJ)                So Ordered on
                                                                                 March 17,
16
                                                                                 2021. Dkt.
17                                                                               No. 278.
     14   WAG Acquisition L.L.C. v. WebPower, Inc.      SDFL         8,122,141   Dismissed
18        et al., No. 9:19-cv-81155-RAR                 (transferred 8,327,011   with prejudice
                                                        from DNJ) 8,364,839      So Ordered on
19                                                                   8,185,611   February 7,
                                                                                 2021. Dkt.
20
                                                                                 No. 191.
21   15   WAG Acquisition, LLC v. Multi Media,          CDCA         8,122,141   Dismissed
          L.L.C. et al., No. 2:19-cv-07076-JAK-GJS      (transferred 8,327,011   with prejudice
22                                                      from DNJ)                So Ordered on
                                                                                 January 8,
23                                                                               2021. Dkt.
24                                                                               No. 266.
     16   WAG Acquisition, L.L.C. v. Sobonito           DNJ         8,122,141    Dismissed
25        Investments, Ltd. et al., No. 2:14-cv-1661-               8,327,011    with prejudice
          ES-MAH                                                    8,185,611    So Ordered on
26                                                                  8,364,839    September 8,
                                                                                 2020. Dkt. No.
27
                                                                                 213.
28   17   WAG Acquisition, L.L.C. v. Gamelink Int’l     DNJ         8,122,141    Notice of
          Ltd. et al., No. 2:15-cv-3416-ES-MAH                      8,327,011    dismissal So
                                                   6
            CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
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                                                                               Ordered on
 1
                                                                               November 8,
 2                                                                             2018. Dkt.
                                                                               No. 56.
 3       18   WAG Acquisition, L.L.C. v. MFCXY, Inc. et   DNJ      8,122,141   Stipulation of
              al., No. 2:14-cv-3196-ES-MAH                         8,327,011   dismissal So
 4                                                                 8,364,839   Ordered on
                                                                   8,185,611   May 8, 2015.
 5
                                                                               Dkt. No. 48.
 6       19   WAG Acquisition, L.L.C. v. XM Satellite     SDNY     6,766,376   Stipulation of
              Radio, Inc. et al, No. 1:08-cv-06357-RMB-                        dismissal So
 7            MHD                                                              Ordered on
                                                                               February 9,
 8                                                                             2009. Dkt.
 9                                                                             No. 33.
         20   WebPower et al. v. WAG Acquisition LLC,     PTAB     8,122,141   The PTAB
10            IPR2016-012385                                                   found on July
                                                                               16, 2020
11                                                                             claims 10–18
                                                                               unpatentable in
12                                                                             a final written
13                                                                             decision,
                                                                               which was not
14                                                                             appealed by
                                                                               WAG. Final
15                                                                             Written
                                                                               Decision on
16
                                                                               Remand,
17                                                                             WebPower v.
                                                                               WAG
18                                                                             Acquisition,
                                                                               IPR2016-
19                                                                             01238, Paper
                                                                               No. 28 (Jul.
20
                                                                               16, 2020).
21
                                                                               Previously
22                                                                             claims 19-23
                                                                               were found
23                                                                             invalid and not
                                                                               appealed.
24
                                                                               WAG
25                                                                             Acquisition,
                                                                               LLC v.
26                                                                             WebPower,
                                                                               Inc., 781 F.
27                                                                             App’x 1007,
28
     5
         IPR2017-00820 and IPR2017-00786 were joined with IPR2016-01238.
                                                  7
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                                                                               1009 n.2 (Fed.
 1
                                                                               Cir. 2019)
 2                                                                             (“The Board
                                                                               also instituted
 3                                                                             review of
                                                                               claims 19-23
 4                                                                             on multiple
                                                                               grounds. WAG
 5
                                                                               has not
 6                                                                             challenged the
                                                                               Board’s
 7                                                                             unpatentability
                                                                               determinations
 8                                                                             with respect to
                                                                               these claims.”)
 9
         21   WebPower et al. v. WAG Acquisition      PTAB         8,364,839   On December
10            L.L.C., IPR2016-012396                                           26, 2017
                                                                               (Paper No. 21),
11                                                                             the PTAB
                                                                               found claims
12                                                                             5, 12, and 19
13                                                                             unpatentable in
                                                                               a final written
14                                                                             decision. Final
                                                                               Written
15                                                                             Decision,
                                                                               WebPower v.
16                                                                             WAG
17                                                                             Acquisition,
                                                                               IPR2016-
18                                                                             01239, Paper
                                                                               No. 21 (Dec.
19                                                                             26., 2017).
20
                                                                               On August 26,
21                                                                             2019, the
                                                                               Federal Circuit
22                                                                             issued a Fed.
                                                                               Cir. R. 36
23                                                                             affirmance.
                                                                               See WAG
24
                                                                               Acquisition,
25                                                                             LLC v.
                                                                               WebPower,
26                                                                             Inc., 2019 U.S.
                                                                               App. LEXIS
27                                                                             25497, at *1
28
     6
         IPR2017-00784 and IPR2017-00785 were joined with IPR2016-01239.
                                                  8
                CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
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                                                                          (Fed. Cir. Aug.
 1
                                                                          26, 2019).
 2   22   Duodecad IT Services Luxembourg S.à r.l.    PTAB    8,364,839   On October
          et al v. WAG Acquisition L.L.C., IPR2015-                       20, 2016, the
 3        01036                                                           PTAB found
                                                                          claims 1, 3, 4,
 4                                                                        6, 8, 10, 11,
                                                                          13, 15, 17, 18,
 5
                                                                          and 20
 6                                                                        unpatentable in
                                                                          a final written
 7                                                                        decision,
                                                                          which was not
 8                                                                        appealed by
 9                                                                        WAG. Final
                                                                          Written
10                                                                        Decision,
                                                                          Duodecad IT
11                                                                        Services
                                                                          Luxembourg
12                                                                        S.à r.l. et al v.
13                                                                        WAG
                                                                          Acquisition,
14                                                                        IPR2015-
                                                                          01036, Paper
15                                                                        No. 17, at 43
                                                                          (Oct. 20,
16                                                                        2016).
17   23   Duodecad IT Services Luxembourg S.à r.l.    PTAB    8,185,611   Denied
          et al v. WAG Acquisition L.L.C., IPR2015-                       institution.
18        01035
     24   FriendFinder Networks Inc. et al. v. WAG    PTAB    8,122,141   Denied
19        Acquisition L.L.C., IPR2015-01037                               institution.
     25   FriendFinder Networks Inc. et al. v. WAG    PTAB    8,327,011   Denied
20
          Acquisition L.L.C., IPR2015-01033                               institution.
21   26   WebPower v. WAG Acquisition L.L.C.,         PTAB    8,327,011   Denied
          IPR2016-01161                                                   institution.
22   27   WebPower v. WAG Acquisition L.L.C.,         PTAB    8,185,611   Denied
          IPR2016-01162                                                   institution.
23
     28   I.M.L. SLU v. WAG Acquisition L.L.C.,       PTAB    8,327,011   Denied
24        IPR2016-01655                                                   institution.
     29   I.M.L. SLU v. WAG Acquisition L.L.C.,       PTAB    8,122,141   Terminated.
25        IPR2016-01656                                                   See Dismissing
                                                                          Petition and
26                                                                        Petitioner’s
                                                                          Motion for
27
                                                                          Adverse
28                                                                        Judgment,
                                                                          I.M.L. SLU et
                                                 9
            CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
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                                                                                   al. v. WAG
 1
                                                                                   Acquisition,
 2                                                                                 IPR2016-
                                                                                   01658, Paper
 3                                                                                 No. 46 (Feb.
                                                                                   27, 2018)
 4                                                                                 (discussing
                                                                                   termination
 5
                                                                                   reasons
 6                                                                                 regarding U.S.
                                                                                   Patent No.
 7                                                                                 8,364,839).
         30   I.M.L. SLU v. WAG Acquisition L.L.C.,      PTAB         8,185,611    Denied
 8            IPR2016-01657                                                        institution.
 9       31   I.M.L. SLU v. WAG Acquisition L.L.C.,      PTAB         8,364,839    Terminated
              IPR2016-016587                                                       (Paper No. 46
10                                                                                 as discussed
                                                                                   above).
11
                                                                                   Also,
12                                                                                 IPR2017-
13                                                                                 01179 joinder
                                                                                   was vacated.
14

15

16
         DATE: December 16, 2021                 VENABLE LLP
17
                                                 By:    /s/ Sarah S. Brooks
18                                               Sarah S. Brooks
19                                               Frank M. Gasparo (Admitted Pro Hac Vice)
                                                 Ralph A. Dengler (Admitted Pro Hac Vice)
20                                               Andrew P. MacArthur
                                                 Attorneys for Defendants/Counter-Claimants
21                                               FriendFinder Networks Inc. and Streamray Inc.
22

23

24

25

26

27

28
     7
         IPR2017-01179 was joined with IPR2016-01658.
                                                  10
                CORRECTED FURTHER UPDATE RE PENDING REEXAMS – Case No. 19-cv-05036-JD
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                     EXHIBIT A
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